Case 8:24-bk-10483-TA          Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00               Desc
                                Main Document    Page 1 of 12



 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 3 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 4 Facsimile: (310) 277-5735

 5 Proposed General Bankruptcy Counsel for Heycart
   Inc, Debtor and Debtor-in-Possession
 6
                            UNITED STATES BANKRUPTCY COURT
 7
                              CENTRAL DISTRICT OF CALIFORNIA
 8
                                       SANTA ANA DIVISION
 9
   In re                                          Case No. 8:24-bk-10483-TA
10
   HEYCART, INC,                                  Chapter 11
11
                  Debtor and Debtor in            EMERGENCY MOTION AND NOTICE
12                Possession.                     OF MOTION FOR ENTRY OF ORDER:
                                                  (1) AUTHORIZING DEBTOR TO PAY
13                                                PREPETITION WAGES AND
                                                  COMPENSATION, (2) AUTHORIZING
14                                                DEBTOR TO HONOR AND CONTINUE
                                                  PREPETITION EMPLOYEE BENEFIT
15                                                PROGRAMS, AND (3) WAIVING 14-DAY
                                                  STAY; AND MEMORANDUM OF
16                                                POINTS AND AUTHORITIES AND
                                                  DECLARATION OF AIDEN CHIEN IN
17                                                SUPPORT THEREOF

18                                                        Date:   March 6, 2024
                                                          Time:   10:00 a.m.
19                                                        Crtrm.: 5B
20

21            TO THE HONORABLE THEODOR ALBERT, UNITED STATES BANKRUPTCY
22 JUDGE, AND INTERESTED PARTIES:

23            Heycart,QFDVGHEWRUDQGGHEWRULQSRVVHVVLRQ WKH³'HEWRU´ KHUHE\PRYHVIRUDQRUGHU
24 authorizing the Debtor to pay the non-insider salaries and wages and honor the benefits of the

25 'HEWRU¶VHPSOR\HHVLQWKHRUGLQDU\FRXUVHRIWKH'HEWRU¶VEXVLQHVV. The hearing on the Motion

26 will be held on March 6, 2024, at 10:00 a.m. in Courtroom 5B of the United States Bankruptcy

27 Court, Central District of California, Santa Ana Division, located at the Ronald Reagan Federal

28 Building and Courthouse, 411 West Fourth Street, Courtroom 5B, Santa Ana, CA 92701.

     1750981.1 27220                                  1
Case 8:24-bk-10483-TA          Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00            Desc
                                Main Document    Page 2 of 12



 1            This Motion is based upon the below memorandum of points and authorities and

 2 declaration of Aiden Chien, the papers and pleadings on file in this case, and such other evidence

 3 as may be presented to the Court.

 4            Oppositions may be made orally at the hearing.

 5

 6 DATED: March 5, 2024                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

 7

 8                                                             /s/ Zev Shechtman
                                                By:
 9                                                    ZEV SHECHTMAN
                                                      Proposed General Bankruptcy Counsel for Heycart
10                                                    Inc, Debtor and Debtor-in-Possession
11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

     1750981.1 27220                                  2
Case 8:24-bk-10483-TA          Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00               Desc
                                Main Document    Page 3 of 12



 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                     I.

 3                                         BACKGROUND FACTS

 4 A.         BANKRUPTCY BACKGROUND

 5            On February 28, 2024 WKH³3HWLWLRQ'DWH´ , the Debtor filed its voluntary chapter 11

 6 petition for relief.

 7

 8 B.         7+('(%725¶63/$1FOR THIS CASE

 9            The Debtor intends to use the chapter 11 process to reorganize and continue as a successful
10 going concern..

11

12                                                     II.

13                           FACTS SPECIFIC TO THE RELIEF REQUESTED

14 A.         WAGES EARNED BY INDIVIDUAL EMPLOYEES

15            The Debtor has 7 full time salaried employees other than insiders, although one started

16 working after the Petition Date. The Debtor must pay six of the employees for their work for the

17 period of February 15, 2024-February 29, 2024, which is mostly for prepetition work. The

18 amounts and employees at issue are as follows:

19            Weicong Chen $2,101.91
20            Rutian Jin      $2,534.13

21            Yingting Sung $2,188.34

22            Boyue Wang      $2,296.49

23            Shenyi Zhang     $2,999.57

24            Xiaoyu Zhang     $3,318.63

25            The Debtor has two compensated insiders: Tony Bao Li, WKH'HEWRU¶VCEO, and Aiden

26 Chien, WKH'HEWRU¶VCOO. Notice of their insider compensation was filed contemporaneously with

27 the petition.

28

     1750981.1 27220                                  3
Case 8:24-bk-10483-TA           Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00               Desc
                                 Main Document    Page 4 of 12



 1 B.         OTHER BENEFITS PROVIDED BY THE DEBTOR TO EMPLOYEES

 2            The other benefits offered to all full time employees include vacation pay, sick leave pay

 3 80% premium coverage for medical insurance, dental and vision insurance. Employees have the

 4 option to select either an HMO or a PPO for their medical insurance, while the dental and vision

 5 plans are PPO plans. The Debtor also offers 401k plans and matches up to 3%.

 6

 7                                                     III.

 8                                          LEGAL DISCUSSION

 9 A.         REQUESTED RELIEF
10            As to non-insider employees, the Debtor seeks authority to pay the salaries and wages and

11 honor the paid time off obligations in the ordinary course of the Debtor¶V business. The Debtor¶s

12 request applies only to employees who are currently employed by the Debtor. If an employee

13 voluntarily quits or is terminated, the Debtor is not seeking authority to pay such employee.

14            The Debtor also seeks authority to continue providing other employee benefits in the

15 ordinary course of its business that were earned prepetition.

16            As to each employee of the Debtor, the total amount owed for prepetition wages or salaries,

17 vacation pay, sick leave pay, contributions for medical insurance, contributions for life insurance,

18 contributions to an employee 401(k) plan, contributions for long term disability insurance, and

19 contributions for a dental PPO plan does not exceed the amount of $15,150.
20 B.         BASIS FOR RELIEF REQUESTED

21            Wages, Salaries, Commissions, and Benefits within the Section 507(a)(4) Limit

22            As a result of having commenced its chapter 11 case, the Debtor is currently prohibited

23 from using its assets to pay prepetition claims, such as those proposed for payment by this Motion.

24 7KHLQDELOLW\WRGRVRZRXOGXQGHUPLQHWKH'HEWRU¶VHIIRUWVWRUHRUganize EHFDXVHWKH'HEWRU¶V

25 workforce is absolutely essential to its profitability, which is necessary to effectuate its business

26 plan and its plan of reorganization.

27            6HFWLRQ D  JUDQWVSULRULW\WRHPSOR\HHFODLPVIRU³ZDJHVVDODULHVRUFRPPLVVLRQV

28 LQFOXGLQJYDFDWLRQVHYHUDQFHDQGVLFNOHDYHSD\HDUQHGE\DQLQGLYLGXDO´ZLWKLQGD\VEHIRUH

     1750981.1 27220                                   4
Case 8:24-bk-10483-TA            Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00               Desc
                                  Main Document    Page 5 of 12



 1 the filing of the petition. Claims under Section 507(a)(4) may be allowed to the extent of $15,150

 2 for each individual. A priority for contributions on behalf of an employee to an employee benefit

 3 plan is granted by section 507(a)(5) to the extent that the section 507(a)(4) is not exhausted.

 4            Section 363(c) permits a debtor in possession to use property of the bankruptcy estate in the

 5 ordinary course of business without notice or a hearing.

 6            6HFWLRQ D RIWKH%DQNUXSWF\&RGHSURYLGHVWKDW³>W@KHFRXUWPD\LVVXHDQ\RUGHU

 7 SURFHVVRUMXGJPHQWWKDWLVQHFHVVDU\RUDSSURSULDWHWRFDUU\RXWWKHSURYLVLRQVRIWKLVWLWOH´

 8 6HFWLRQ D SURYLGHVDVWDWXWRU\FRXQWHUSDUWWRWKHFRXUW¶VRWKHUZLse inherent and discretionary

 9 equitable powers. See In re Sasson, 424 F.3d 864, 874 (9th Cir. 2005); In re Halvorson, 581 B.R.
10 610, 636 n.91 (Bankr. C.D. Cal. 2018).

11            While not codified in the Bankruptcy Code, a court may authorize a debtor to pay pre-

12 SHWLWLRQGHEWZKHQLWLVQHFHVVDU\WRWKHGHEWRU¶VDELOLW\WRUHRUJDQL]H

13                     The ability of a Bankruptcy Court to authorize the payment of pre-
                       petition debt when such payment is needed to facilitate the
14                     rehabilitation of the debtor is not a novel concept. It was first
                       articulated by the United States Supreme Court in Miltenberger v.
15                     Logansport, C. & S.W. R.Co., 106 U.S. 286, 1 S.Ct. 140, 27 L.Ed.
                         DQGLVFRPPRQO\UHIHUUHGWRDVHLWKHUWKH³GRFWULQHRI
16                     QHFHVVLW\´RUWKH³QHFHVVLW\RISD\PHQW´UXOH7KLVUXOHUHFRJQL]HV
                       the existence of the judicial power to authorize a debtor in a
17                     reorganization case to pay pre-petition claims where such payment is
                       essential to the continued operation of the debtor.
18

19 In re Ionosphere Clubs, Inc., 98 B.R. 174, 175- %DQNU6'1< ³7KHQHFHVVLW\RI
20 payment doctrine recognizes that paying certain pre-petition claims may be necessary to realize the

21 goal of chapter 11²DVXFFHVVIXOUHRUJDQL]DWLRQ´In re Just for Feet, Inc., 242 B.R. 821, 825-26

22 (D. Del. 1999) (citing In re Lehigh & New England Railway Co., 657 F.2d 570, 581 (3d Cir.

23 1981)); see also In re Jevic, 137 S.Ct. 973 (2017) (noting that by approving certain important and

24 OLPLWHGSUHSHWLWLRQSD\PHQWV³FRXUWVKDYHXVXDOO\IRXQGWKDWWKHGLVWULEXWLRQVDWLVVXHZRXOG

25 µHQDEOHDVXFFHVVIXOUHRUJDQL]DWLRQDQGPDNHHYHQWKHGLVIDYRUHGFUHGLWRUVEHWWHURII¶´ (quoting

26 In re Kmart Corp., 359 F.3d 866, 872 (7th Cir. 2004)).

27            The Debtor believes payment of the prepetition earnings and paid time off to be appropriate

28 under the circumstances. Also, by this Motion the Debtor proposes to pay only prepetition

     1750981.1 27220                                   5
Case 8:24-bk-10483-TA          Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00              Desc
                                Main Document    Page 6 of 12



 1 compensation to its employees that is within the limits forth in section 507(a)(4). None of the

 2 employees will be paid an aggregate that exceeds the $15,150 limit. Accordingly, the relief sought

 3 affects the timing of the payment for which the Bankruptcy Code provides a priority, not the

 4 amount. As discussed in the below declaration, the Debtor anticipates that it will reorganize under

 5 chapter 11. The Debtor will need to work with its secured creditors, particularly as to cash

 6 collateral usage. However, the Debtor does not believe that paying the sums contemplated here

 7 will render the Debtor administratively insolvent. Overall, the Debtor does not believe that

 8 JUDQWLQJWKHUHOLHIUHTXHVWHGKHUHLQZLOOGHWULPHQWDOO\DIIHFWWKH'HEWRU¶VFKDQFHVRIFRPSOHWLQJD

 9 successful reorganization. In fact, maintaining the work force is necessary to effectuate a
10 reorganization.

11            7KHHPSOR\HHV¶VNLOOVDQGWKHLUNQRZOHGJHDQGXQGHUVWDQGLQJRIWKH'HEWRU¶Voperations,

12 are essential to an effective reorganization of the business. To avoid an interruption in the Debtor¶V

13 business, it is important that the Debtor pays HPSOR\HHV¶RXWVWDQGLQJZDJHVDQGVDODULHVSD\paid

14 time off in the ordinary course of business, and honor all of the benefits offered. If the Debtor does

15 not do so, there is a risk of unmanageable turnover of the Debtor¶V ZRUNIRUFHDQGWKHHPSOR\HHV¶

16 morale will very likely decline drastically due to, among other things, the economic burdens faced

17 by employees. The Debtor requires the ability to reassure its employees that as long as they remain

18 with the Debtor they will continue to be paid and to receive benefits in exchange for their labor,

19 without disruption. Accordingly, authority to pay the prepetition earnings and paid time off, and
20 maintain other benefits provided by the Debtor to employees, is necessary to the Debtor¶V ability to

21 reorganize.

22

23 C.         AVAILABILITY OF REQUESTED RELIEF

24            The Local Bankruptcy Rules expressly authorize chapter 11 debtors to file motions to pay

25 prepetition payroll and honor prepetition employment procedures on an expedited basis. LBR

26 2081-1(a)(6). For the reasons discussed here, the Debtor submits that relief on an expedited basis

27 is necessary and appropriate to maintain the Debtor¶V operations.

28

     1750981.1 27220                                 6
Case 8:24-bk-10483-TA           Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                Desc
                                 Main Document    Page 7 of 12



 1 D.         WAIVER OF STAY

 2            Federal Rule of Bankruptcy Procedure 6004(h) provides that an order authorizing the use,

 3 sale or lease of property other than cash collateral is stayed until the expiration of 14 days after

 4 entry of the order, unless the court orders otherwise. If and to the extent that this stay would apply

 5 to the Court’s order granting this motion, the Court should waive the stay so the Debtor may pay

 6 prepetition payroll and honor prepetition employment procedures without delay.

 7

 8                                                     IV.

 9                                             NOTICE GIVEN

10            This Motion will be served by email on the Office of the United States Trustee, secured

11 creditors, and creditors appearing on the Debtor’s list of 20 largest unsecured creditors, and the

12 Debtor will give telephonic notice to the Office of the United States Trustee and secured creditors.

13

14                                                      V.

15                                CONCLUSION AND REQUEST RELIEF

16            For the foregoing reasons, the Debtor requests that the Court enter an order substantially in

17 the form of the order attached as Exhibit “A” hereto, granting this motion, authorizing the Debtor

18 to pay prepetition wages and accrued benefits in the ordinary course of business, including accrued

19 benefits owed to insiders, to honor and continue other prepetition employee benefits, and waiving

20 the 14-day stay. The Debtor also requests such further relief as the Court deems just and proper.

21

22 DATED: March 5, 2023                          DANNING, GILL, ISRAEL & KRASNOFF, LLP

23

24
                                                 By:          /s/ Zev Shechtman
25                                                     ZEV SHECHTMAN
                                                       Proposed General Bankruptcy Counsel for
26                                                     Heycart, Inc, Debtor and Debtor in Possession
27

28

     1750981.1 27220                                   7
Case 8:24-bk-10483-TA            Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                Desc
                                  Main Document    Page 8 of 12



 1                                    DECLARATION OF AIDEN CHIEN

 2            I, AIDEN CHIEN, declare as follows:

 3            1.       I am the Chief Operating Officer of the Debtor in the above bankruptcy case. I have

 4 personal knowledge of the facts set forth herein, except as to those stated on information and belief

 5 and, as to those, I am informed and believe them to be true. If called as a witness, I could and

 6 would competently testify to the matters stated herein. I make this declaration in support of the

 7 above motion.

 8            2.       The Debtor has 7 full time salaried employees other than insiders, although one

 9 started working after the Petition Date. The Debtor must pay six of the employees for their work
10 for the period of February 15, 2024-February 29, 2024, which is mostly for prepetition work. The

11 amounts and non-insider employees at issue are as follows:

12            Weicong chen $2,101.91

13            Rutian Jin        $2,534.13

14            Yingting Sung $2,188.34

15            Boyue Wang        $2,296.49

16            Shenyi Zhang      $2,999.57

17            Xiaoyu Zhang       $3,318.63

18            3.       The goal of this chapter 11 filing is to reorganize and continue as a successful going

19 concern.
20            4.       Paying employees is necessary to avoid disruption to the business.

21            5.       I do not believe that these payments will render the business administratively

22 insolvent. Current cash on hand substantially exceeds the amount to be paid under this motion.

23            I declare under penalty of perjury under the laws of the United States of America that the

24 foregoing is true and correct.

25            Executed on this 5th day of March, 2024, at Irvine, California.

26

27
                                                            AIDEN CHIEN
28

     1750981.1 27220                                    8
        Case 8:24-bk-10483-TA                     Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                                      Desc
                                                   Main Document    Page 9 of 12



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION AND NOTICE OF MOTION
FOR ENTRY OF ORDER: (1) AUTHORIZING DEBTOR TO PAY PREPETITION WAGES AND COMPENSATION, (2)
AUTHORIZING DEBTOR TO HONOR AND CONTINUE PREPETITION EMPLOYEE BENEFIT PROGRAMS, AND (3)
WAIVING 14-DAY STAY; AND MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION OF AIDEN
CHIEN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 5, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 5, 2024 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                          Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 March 5, 2024                             Patricia Morris                                       /s/ Patricia Morris
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
1750991.1 27220
        Case 8:24-bk-10483-TA                     Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                                      Desc
                                                  Main Document    Page 10 of 12


                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

    •   John E Johnson jjohnson@padfieldstout.com
    •   Shantal Malmed smalmed@danninggill.com
    •   Queenie K Ng queenie.k.ng@usdoj.gov
    •   Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
    •   Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
    •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR E-MAIL

20 Largest List of Creditors

 Xiamen Youlike Houseware                       Kelly
 Co.,Ltd Room 511, No. 1, No. 39,
 Xinchang Road, Haicang District,
 Xiamen Fujian China 361026                     kelly@xmyoulike. corn
 8Fig                                           Roei
 1717 W 6th St Suite
 335
 Austin, TX 78703                               roei@8fig.com
                                                5122033261
 BlueX Trade                                    Jerry Cheng
 104, Taiwan, Taipei
 City
 Zhongshan District,                            jerry.cheng@bluextrade.com
 Section                                        2132797575
 2, Nanjing E Rd,
 no.132 11F
 Panda Logistics                                Veronica Luna
 USA Inc
 1 Civic Plaza Dr ST
 E555                                           veronical@pandalogusa.com
 Carson, CA 90.745                              310-635-1990
 Xiamen Ruihe Xingyi Trading                    May Li
 Co.Lt 1301-2, Building
 1, Meifeng Chuanggu Xike Town,
 Tongan District                                may@hbdware.com
 Xiamen, China
 ' Clearco dba Clearbanc33 Yonge                Gabriella
 St, Suite 1200Toronto, ON M5E                  funding@clearbanc.com
 1G4

 Amazon
 410 Terry Ave N
 Seattle, WA 98109                              AMS_Receivables
                                                @amazon.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
1750991.1 27220
        Case 8:24-bk-10483-TA                     Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                                      Desc
                                                  Main Document    Page 11 of 12


 Yangjiang Homelife Industry &                  Betty Ho
 Trading 3/F, No. 16, Building H,
 Green Lake Garden, XinJiang
 North Road Yangjiang, 529500                   betty.ho@yjhomelife.com
 Tongcheng Logistics Inc. 566                   Ricky Ren
 Vanguard Way Unit A, Brea,CA
 92821
                                                rren@tclogusa.com
                                                6577991999
 Visa Inc.
 900 Metro Center
 Blvd.                                          1 (800) 847-2911
 San Mateo, CA
 94404
 Shenzhen                                       Amy Liu
 Minshunlong Co.,Lt d
 #1601 Wanhui Building
 No 3, Longhe Road, Longgang                    sales@szmsl68.com
 District, Shenzen
 Ningbo Kingdom Home Fashion                    Sunny
 Co. Ltd
 No. 169 North Linyu Road
 Zhenhai, NingBo P.C: 315207                    sales@storageorganize.com
 China
 Fuzhou Yibang                                  Heson He
 Plastic Co.ltd
 3F No 58 Zhaishan Road,
 Houshan Village Minhou Fuzhou                  sales8@fzyumei.com
 FJ 350109 China
 Yangjiang Kimberi Trading Co.,                 Julie Ye
 Ltd. No. 12 Nawei Industrial Zone
 II Dongcheng Town Yangdong
 District, Yangjiang                            ke14@kimberi.com
Victory Maritime Services USA                   Otis Liang
333 City Blvd W Ste 1210
Orange, CA 92868
                                                otis@vgil.us
                                                657-282-0067
Zenpack                                         Steven Shih
1050 N. 5th St, Ste
#30
San Jose, CA 95112                              sshih@zenpack.us
                                                5108236037
Fujian Bridge Style Furnishings                 Lily Lee
Co. 4th Floor, Plant 8, No 3 Tieling
East Road, Jingxi Town,
Minhou County, Fuzhou                           sale10@bridge-style.cc




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
1750991.1 27220
        Case 8:24-bk-10483-TA                     Doc 10 Filed 03/05/24 Entered 03/05/24 15:20:00                                      Desc
                                                  Main Document    Page 12 of 12


V Plus Packing No 1 Building,                   V Plus Packing
Xinchang Road Haicang District,
Xiamen
Fujian, China                                   sales6@vpluspacking.com
Leventa                                         Jinal
1752 Northwest
Market Street
Unit 4364                                       jinal@levanta.io
Seattle, WA 98107                               425-737-0150
Neo Regal(Xiamen) Industrial Co.,               Hannah
Lt #503 Ganghang Building, #29
Donggang North Road,
Xiamen 361000,                                  sales4@neoregal.cn
China




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
1750991.1 27220
